        Case 4:07-cv-05944-JST Document 2767-1 Filed 08/25/14 Page 1 of 2



 1   DAVID L. YOHAI (pro hac vice)
     ADAM C. HEMLOCK (pro hac vice)
 2   DAVID E. YOLKUT (pro hac vice)
     WEIL, GOTSHAL & MANGES LLP
 3   767 Fifth Avenue
     New York, New York 10153-0119
 4   Telephone: (212) 310-8000
     Facsimile: (212) 310-8007
 5   E-mail: adam.hemlock@weil.com

 6   BAMBO OBARO (267683)
     WEIL, GOTSHAL & MANGES LLP
 7   201 Redwood Shores Parkway
     Redwood Shores, California 94065-1175
 8   Telephone: (650) 802-3000
     Facsimile: (650) 802-3100
 9   E-mail: bambo.obaro@weil.com

10   JEFFREY L. KESSLER (pro hac vice)
     A. PAUL VICTOR (pro hac vice)
11   EVA W. COLE (pro hac vice)
     MOLLY M. DONOVAN (pro hac vice)
12   WINSTON & STRAWN LLP
     200 Park Avenue
13   New York, New York 10166-4193
     Telephone: (212) 294-6700
14   Facsimile: (212) 294-7400
     E-mail: jkessler@winston.com
15
     Attorneys for Defendants Panasonic Corporation, Panasonic Corporation of North American, and
16   MT Picture Display Co., Ltd.

17                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
18                                 SAN FRANCISCO DIVISION
19
     In re: CATHODE RAY TUBE (CRT)                  Master Case No. 3:07-cv-05944-SC
20   ANTITRUST LITIGATION
                                                    MDL No. 1917
21
     This Document Relates to:                      Individual Case No. 3:14-cv-02510
22
     ViewSonic Corporation v. Chunghwa              [PROPOSED] ORDER GRANTING THE
23                                                  PANASONIC DEFENDANTS’ MOTION
     Picture Tubes, Ltd., et al., No. 3:14-cv-
     02510                                          DISMISS AND TO COMPEL
24                                                  ARBITRATION
25

26

27

28   [PROPOSED] ORDER GRANTING PANASONIC DEFENDANTS’                      MDL No. 1917
     MOTION TO DISMISS AND TO COMPEL ARBITRATION                          Case No. 3:14-cv-02510
         Case 4:07-cv-05944-JST Document 2767-1 Filed 08/25/14 Page 2 of 2



 1           Upon consideration of the Panasonic Defendants’ Notice of Motion to Dismiss and to
 2   Compel Arbitration of Plaintiff ViewSonic Corporation’s (“ViewSonic”) claims against the
 3
     Panasonic Defendants, supporting Memorandum of Points and Authorities, and good cause alleged,
 4
     it is hereby:
 5
             ORDERED that the Panasonic Defendants’ Motion to Dismiss and to Compel Arbitration is
 6

 7   GRANTED; it is further

 8           ORDERED that ViewSonic’s claims based on its alleged CRT Finished Product purchases

 9   from Defendants Panasonic Corporation, Panasonic Corporation of North America, and MT Picture
10
     Display Co., Ltd. (collectively, the “Panasonic Defendants”) is dismissed with prejudice.
11

12
             IT IS SO ORDERED
13

14

15   Dated: ________________                                            __________________________
                                                                              Hon. Samuel Conti
16                                                                        United States District Judge
17

18

19

20

21

22

23

24

25

26

27

28   [PROPOSED] ORDER GRANTING PANASONIC DEFENDANTS’                           MDL No. 1917
     MOTION TO DISMISS AND TO COMPEL ARBITRATION                                Case No. 3:14-cv-02510
